Name                                       Lead team
                                 Case 1:20-cv-08924-CM              Proposed
                                                         Document 667-3        Date Backup
                                                                        Filed 07/18/22 Page 1 Date
                                                                                              of 1 1 Backup Date 2
Sgt. Christopher Hewitson                  Gray                                  8/10
Sgt. Wong Shuzhen​                         Gray                                  9/13
Sgt. Stuart Wohl​                          Gray                                  9/28
Lt Eric Dym                                People/Sierra                         8/12             8/15
Sgt. Elliot Zinstein                       Sow/People                             9/9             9/16
PO Joselyn Jimenez​                        Payne                                  8/9              8/3
Perez-Gutierrez​                           Payne                                  8/2              8/3
P.O. Jakub Tarlecki                        Payne                                  8/4              8/5
Police Officer Michael Kovalik             People           1/2 day              8/16             8/18
Police Officer Michael Sher                People           1/2 day              8/10             8/11
Sgt. Mitchell Epstein                      People           1/2 day              7/28             7/29
P.O. Jarvis Onabanjo                       People           1/2 day               8/3              8/5        8/2
P.O. James Lee                             People           1/2 day               8/2              8/3
P.O. Luis Ortiz                            People           1/2 day               8/4              8/5
Sergeant Michael Ciota                     People           1/2 day              8/16             8/18
P.O. Frank Fiorenza                        People           1/2 day               8/9             8/24       8/23
Chief Gerard Dowling                       Sierra/Wood                            8/4              8/5
Assistant Chief Stephen J. Hughes -- 30b6 Payne                                  8/17             8/24
CO David Miller                            Sierra/People                         8/16             8/17
Deputy Chief John D'Adamo                  Wood                                  8/19             8/23
Deputy Inspector Robert M. Gallitelli      Wood                                   8/8              8/9       8/10
Deputy Commissioner Richard Esposito       Gray/Hernandez                        9/30
Cpt. Joseph Taylor                         Sierra                                8/18             8/19
Kenneth Rice                               Sow                                    9/5              9/7        9/8
Capt. Julio Delgado                        Wood                                  8/25             8/26       8/30
Lt. Lauren Foster                          People                                8/30              9/8
Captain Isaac Soberal                      Sierra                                8/23             8/24
Dan Gallagher                              Sow/Gray                              9/15
Thomas Conforti                            Payne                                 8/26             8/25
